                        Case 3:16-cr-00024-RGE-SBJ Document 60 Filed 04/11/17 Page 1 of 7
AO 245B (Rev. 11/16) Judgment in a Criminal Case
v1                      6KHHW 



                                            81,7(' 67$7(6 ',675,&7 &2857
                                                      SOUTHERN DISTRICT OF IOWA
                                                                         
               81,7(' 67$7(6 2) $0(5,&$                                         JUDGMENT IN A CRIMINAL CASE
                                   v.                                    
                                                                         
                       Sultan Tippu Bismillah
                                                                                &DVH 1XPEHU 3:16-cr-00024-001
                                                                                860 1XPEHU 17464-030
                                                                         
                                                                                Terence L. McAtee
                                                                                 'HIHQGDQW¶V $WWRUQH\
THE DEFENDANT:
✔SOHDGHG JXLOW\ WR FRXQWV
G                                        Two of the Superseding Indictment filed on June 22, 2016.
G SOHDGHG QROR FRQWHQGHUH WR FRXQWV
     ZKLFK ZDV DFFHSWHG E\ WKH FRXUW
G ZDV IRXQG JXLOW\ RQ FRXQWV
     DIWHU D SOHD RI QRW JXLOW\

7KH GHIHQGDQW LV DGMXGLFDWHG JXLOW\ RI WKHVH RIIHQVHV

Title & Section        ?           Nature of Offense                                                      Offense Ended               Count

 21 U.S.C. §§ 841(a)(1),            Conspiracy to Distribute a Mixture and Substance                       12/2015                     Two

 841(b)(1)(C), 846                  Containing a Detectable Amount of Cocaine Base




     See additional count(s) on page 2


      7KH GHIHQGDQW LV VHQWHQFHG DV SURYLGHG LQ SDJHV 2 WKURXJK 7            RI WKLV MXGJPHQW The sentence is impRVHG SXUVXDQW Wo the
6HQWHQFLQJ 5HIRUP $FW RI 
G 7KH GHIHQGDQW KDV EHHQ IRXQG QRW JXLOW\ RQ FRXQWV
✔&RXQWV One
G                                                         ✔LV
                                                          G       G DUH dismiVVHG RQ WKH PRWLRQ RI WKH 8QLWHG 6WDWHV
         ,W LV RUGHUHG WKDW WKH GHIHQGDQW PXVW QRWLI\ WKH 8QLWHG6WDWHV DWWRUQH\ IRU WKLV GLVWULFW ZLWKLQ  GD\V RI DQ\ FKDQJH RI QDme UHVLGHQFH
RU PDLOLQJ DGGUHVV XQWLO DOO ILQHV UHVWLWXWLRQ FRVWV DQG VSHFLDO DVVHVVPHQWV LPSRVHG E\ WKLV MXGJPHQW DUH IXOO\ SDLG If RUGHUHG WR SD\ UHVWLWXWLRQ
WKH GHIHQGDQW PXVW QRWLI\ WKH FRXUW DQG 8QLWHG 6WDWHV DWWRUQH\ RI PDWHULDO FKDQJHV LQ HFRQRPLF FLUFXPVWDQFHV

                                                                        April 11, 2017
                                                                         'DWH RI ,PSRVLWLRQ RI -XGJPHQW




                                                                         Signature of Judge


                                                                        Rebecca Goodgame Ebinger, U.S. District Judge
                                                                         1DPH RI -XGJH                               7LWOH RI -XGJH

                                                                         April 11, 2017
                                                                         'DWH
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AO 245B (Rev. 11/16) Judgment in a Criminal Case
v1                   Sheet 2 — Imprisonment

                                                                                                                Judgment Page: 2 of 7
 DEFENDANT: Sultan Tippu Bismillah
 CASE NUMBER: 3:16-cr-00024-001


                                                            IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:
  160 months as to Count Two of the Superseding Indictment filed on June 22, 2016.




     ✔
     G    The court makes the following recommendations to the Bureau of Prisons:

  The defendant be placed at a FCI Oxford, FCI Greenville, or FCI Milan, if commensurate with his security and classification
  needs; that he be made eligible for the 500-hour residential drug abuse program (RDAP); and that he be provided vocational
  training opportunities (welding, plumbing, electricity, or painting).

     ✔ The defendant is remanded to the custody of the United States Marshal.
     G

     G The defendant shall surrender to the United States Marshal for this district:
          G at                                     G a.m.      G p.m.       on

          G as notified by the United States Marshal.

     G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          G before                   on

          G as notified by the United States Marshal.
          G as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                         to

 a                                                  , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL


                                                                          By
                                                                                                DEPUTY UNITED STATES MARSHAL
                      Case 3:16-cr-00024-RGE-SBJ Document 60 Filed 04/11/17 Page 3 of 7
AO 245B (Rev. 11/16) Judgment in a Criminal Case
v1                   Sheet 3 — Supervised Release

                                                                                                                Judgment Page: 3 of 7
DEFENDANT: Sultan Tippu Bismillah
CASE NUMBER: 3:16-cr-00024-001
                                                     SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
Three years as to Count Two of the Superseding Indictment filed on June 22, 2016.



                                                    MANDATORY CONDITIONS
 1.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance.
 3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
             G The above drug testing condition is suspended, based on the court's determination that you
                 pose a low risk of future substance abuse. (check if applicable)
 4.    G✔You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 5.    G You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
          directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you reside, work,
          are a student, or were convicted of a qualifying offense. (check if applicable)
 6.    G You must participate in an approved program for domestic violence. (check if applicable)

 You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
 page.
                      Case 3:16-cr-00024-RGE-SBJ Document 60 Filed 04/11/17 Page 4 of 7
AO 245B (Rev. 11/16) Judgment in a Criminal Case
v1                   Sheet 3 — Supervised Release

                                                                                                                     Judgment Page: 4 of 7
 DEFENDANT: Sultan Tippu Bismillah
 CASE NUMBER: 3:16-cr-00024-001


                                        STANDARD CONDITIONS OF SUPERVISION
 As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
 because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
 officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

 1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
       frame.
 2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
 3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
 4.    You must answer truthfully the questions asked by your probation officer.
 5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
 6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
 7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
 8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
 9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
 11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
 12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
 13.   You must follow the instructions of the probation officer related to the conditions of supervision.



 U.S. Probation Office Use Only
 A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
 judgment containing these conditions. I understand additional information regarding these conditions is available at the www.uscourts.gov.


 Defendant's Signature                                                                                    Date
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AO 245B (Rev. 11/16) Judgment in a Criminal Case
v1                   Sheet 3C — Supervised Release

                                                                                                         Judgment Page: 5 of 7
DEFENDANT: Sultan Tippu Bismillah
CASE NUMBER: 3:16-cr-00024-001

                                         SPECIAL CONDITIONS OF SUPERVISION
  The defendant shall participate in a cognitive behavioral treatment program, which may include journaling and other
  curriculum requirements, as directed by the U.S. Probation Officer.

  The defendant shall participate in a program of testing and/or treatment for substance abuse, as directed by the Probation
  Officer, until such time as the defendant is released from the program by the Probation Office. At the direction of the
  probation office, the defendant shall receive a substance abuse evaluation and participate in inpatient and/or outpatient
  treatment, as recommended. Participation may also include compliance with a medication regimen. The defendant will
  contribute to the costs of services rendered (co-payment) based on ability to pay or availability of third party payment. The
  defendant shall not use alcohol and/or other intoxicants during the course of supervision.

  The defendant shall not patronize business establishments where more than fifty percent of the revenue is derived from
  the sale of alcoholic beverages.

  If not completed with the Bureau of Prisons, the defendant shall reside, participate, and follow the rules of the residential
  reentry program, as directed by the U.S. Probation Officer, for up to 120 days. The residential reentry program is
  authorized to allow up to six hours of pass time per week for good conduct when the defendant becomes eligible in
  accordance with the residential reentry program standards.

  The defendant shall submit to a search of his person, property, residence, adjacent structures, office, vehicle, papers,
  computers (as defined in 18 U.S.C. § 1030(e)(1)), and other electronic communications or data storage devices or media,
  conducted by a U.S. Probation Officer. Failure to submit to a search may be grounds for revocation. The defendant shall
  warn any other residents or occupants that the premises and/or vehicle may be subject to searches pursuant to this
  condition. An officer may conduct a search pursuant to this condition only when reasonable suspicion exists that the
  defendant has violated a condition of his release and/or that the area(s) or item(s) to be searched contain evidence of this
  violation or contain contraband. Any search must be conducted at a reasonable time and in a reasonable manner. This
  condition may be invoked with or without the assistance of law enforcement, including the U.S. Marshals Service.
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AO 245B (Rev. 11/16) Judgment in a Criminal Case
v1                   Sheet 5 — Criminal Monetary Penalties

                                                                                                                    Judgment Page: 6 of 7
DEFENDANT: Sultan Tippu Bismillah
CASE NUMBER: 3:16-cr-00024-001
                                              CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                 JVTA Assessment *               Fine                       Restitution
TOTALS            $ 100.00                     $ 0.00                        $ 0.00                      $ 0.00


G The determination of restitution is deferred until                   . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                                     Total Loss**             Restitution Ordered      Priority or Percentage




TOTALS                                                                             $0.00                    $0.00


G     Restitution amount ordered pursuant to plea agreement $

G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      G the interest requirement is waived for the           G fine   G restitution.
      G the interest requirement for the          G fine      G restitution is modified as follows:


* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 11/16) Judgment in a Criminal Case
v1                   Sheet 6 — Schedule of Payments

                                                                                                                            Judgment Page: 7 of 7
DEFENDANT: Sultan Tippu Bismillah
CASE NUMBER: 3:16-cr-00024-001

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ✔ Lump sum payment of $ 100.00
      G                                                         due immediately, balance due

           G not later than                                          , or
           ✔ in accordance
           G                            G C,          G D,     G       E, or     ✔ F below; or
                                                                                 G
B     G Payment to begin immediately (may be combined with                     G C,       G D, or      G F below); or
C     G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D     G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     G Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F     ✔ Special instructions regarding the payment of criminal monetary penalties:
      G
            All criminal monetary payments are to be made to the Clerk's Office, U.S. District Court, P.O. Box 9344,
            Des Moines, IA. 50306-9344.
            While on supervised release, you shall cooperate with the Probation Officer in developing a monthly payment plan
            consistent with a schedule of allowable expenses provided by the Probation Office.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All crimnal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



G Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
G The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,(5) fine
interest, (6) community restitution, (7) JVTA assessment, and (8) costs, including cost of prosecution and court costs.
